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                           UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF FLORIDA
                                PENSACOLA DIVISION

 UNITED STATES OF AMERICA, ex rel.
 ROBERT V. SMITH,

         Plaintiff,                                 Civil case No.
                                                    3:20-cv-3678-MCR/EMT
 vs.

 JAY A. ODOM; OKALOOSA COUNTY,
 BOARD OF COMMISSIONERS,

         Defendants.


                                 NOTICE OF APPEARANCE

       COMES NOW the United States of America and gives notice that the United States of

America is represented in this action by U.S. Department of Justice, Civil Division Trial

Attorney David M. Sobotkin. All further pleadings and correspondence in this action should be

directed to the undersigned.



                                             Respectfully submitted,

                                             JEFFREY BOSSERT CLARK
                                             Acting Assistant Attorney General

                                             JAMIE ANN YAVELBERG
                                             Director

                                             SARA MCLEAN
                                             Assistant Director
     Case 3:20-cv-03678-MCR-EMT Document 13 Filed 12/15/20 Page 2 of 3




                                  /s/ David M. Sobotkin

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Dated: December 15, 2020
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                       CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that a true and correct copy of the foregoing was
electronically filed via CM/ECF on this 15th day of December, 2020.


                                          /s/ David M. Sobotkin
                                          DAVID M. SOBOTKIN
